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                  THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
                          CAMDEN VICINAGE

                                             MDL No. 2875
 IN RE: VALSARTAN, LOSARTAN,
 AND IRBESARTAN PRODUCTS                     Honorable Robert B. Kugler,
 LIABILITY LITIGATION                        District Court Judge

                                             Honorable Joel Schneider,
                                             Magistrate Judge

 This Document Relates to All Actions        NOTICE OF WHOLESALER
                                             DEFENDANTS’ MOTION TO
                                             DISMISS



       TO: Adam M. Slater, Esq.
           Plaintiffs’ Liaison Counsel
           Mazie Slater Katz & Freeman, LLC
           103 Eisenhower Parkway
           Roseland, NJ 07068

       PLEASE TAKE NOTICE that on a date to be determined after October 16,

 2020, AmeriSourceBergen, Cardinal Health, Inc., and McKesson Corporation

 (collectively, “Wholesaler Defendants”), by and through counsel for Wholesaler

 Defendants in the above-captioned action, shall move before the Honorable Robert

 B. Kugler, United States District Judge of the United States District Court for the

 District of New Jersey, for entry of an Order dismissing the Master Personal Injury

 Complaint (ECF No. 122), the Consolidated Second Amended Economic Class

 Action Complaint (ECF No. 398), and the Consolidated Amended Medical


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 Monitoring Class Action Complaint (ECF No. 123) pursuant to Federal Rules of

 Civil Procedure 12(b)(1) and 12(b)(6).

       PLEASE TAKE FURTHER NOTICE that all Distributor and Re-

 packager Defendants in MDL No. 2875 shall join in Wholesaler Defendants’

 Motion by adopting certain arguments by reference.

       PLEASE TAKE FURTHER NOTICE that in support of this motion,

 Wholesaler Defendants shall rely on the accompanying Memorandum of Law (and

 the Compendiums of Charts and Unpublished and Unreported Authorities

 appended thereto), as well as Manufacturing Defendants’ Memorandum of Law

 (and the Compendiums of Charts and Unpublished and Unreported Authorities

 appended thereto); Pharmacy Defendants’ Memorandum of Law (and the

 Compendiums of Charts and Unpublished and Unreported Authorities appended

 thereto) and all papers later submitted with any Defendants’ reply in further

 support of their motions to dismiss.

       PLEASE TAKE FURTHER NOTICE that, for the Court’s convenience, a

 proposed Order is submitted herewith.

       PLEASE TAKE FURTHER NOTICE that the undersigned attorneys for

 Defendants request oral argument on this motion.
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 Dated: July 17, 2020             Respectfully submitted,

                                  /s/     Jeffrey D. Geoppinger
                                        Jeffrey D. Geoppinger, Esq.
                                        Liaison Counsel for Wholesaler
                                        Defendants

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                                  Wholesaler Defendants
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                                   Counsel for McKesson Corporation
